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                         IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH


  UNITED STATES OF AMERICA,                         Case No. 2:24-mj-01046 DAO

                 Plaintiff,
          vs.                                       ORDER TO UNSEAL
                                                    CRIMINAL CASE
  ANGEL EFREN MEZA-BELTRAN,

                 Defendant.                         Magistrate Judge Daphne A. Oberg




       The Court, based upon the foregoing Government’s Motion to Unseal Criminal Case, and

good cause appearing, hereby orders that the seal is lifted in the above-entitled matter.

       DATED this ____ day of January, 2025.



                                              ___________________________________
                                              DAPHNE A. OBERG, MAGISTRATE JUDGE
                                              United States District Court
